Case 6:23-cr-00088-DCJ-DJA Document 28 Filed 08/17/23 Page 1 of 6 PageID #: 33




                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION

UNITED STATES OF AMERICA                      CRIMINAL NO. 6:23-CR-00088

VERSUS                                        JUDGE DAVID C. JOSEPH

LYNOL CHRISTIAN                               MAGISTRATE JUDGE DAVID J. AYO


                              SCHEDULING ORDER

      A status conference was held before Magistrate Judge Ayo on August 17, 2023.

Present for the Government was Dan McCoy, and present for Defendant was Jasmine

Green. Counsel made a joint oral motion to continue the trial of this case beyond the

seventy days allowed by the Speedy Trial Act and to set the case for trial as set forth

below in this Scheduling Order. Given the complexity of the discovery in this case and

☒ the nature of the pending charges,

☐ the number of Defendants,

☐ Defendant’s need for additional time to file motions,

☐ the pendency of Defendant’s Motion to Suppress (ECF No. ),

☐ the pendency of Defendant’s discovery motion(s) (ECF No(s). and ),

the Court finds that this additional time is reasonable and necessary for effective

preparation by counsel for Defendant and the Government, taking into account the

exercise of due diligence. The Court finds that the ends of justice served by granting

this continuance outweigh the public’s and Defendant’s rights in a speedy trial.
Case 6:23-cr-00088-DCJ-DJA Document 28 Filed 08/17/23 Page 2 of 6 PageID #: 34




          Accordingly;

          TRIAL is SET before Judge Joseph on November 27, 2023 at 9:00 a.m. Trial

is anticipated to last 5 days, not including jury selection. A pretrial conference will

be HELD in the chambers of Judge Joseph on November 8, 2023 at 2:00 p.m.

Attendance by trial counsel is required. The pretrial deadlines are as follows:

      1. August 24, 2023                    Defendant’s Request for Discovery. Government’s
         7 days after issuance              response is due 7 days from discovery request. See Rule
         of scheduling order                16(a)(1).

       2. September 1, 2023                 Government’s Request for Discovery. Defendant’s
          15 days after                     reciprocal is due 7 days from discovery request. See Rule
          issuance of                       16(b)(1).
          scheduling order

       3. September 28, 2023                Expert Witness Disclosure by party with the burden
          60 days before trial              of proof.

                                            Notice Deadline (See e.g. Fed. R. Crim. P. 12.2, 12.3;
                                            Fed. R. Evid. 404(b), 413, 414).

       4. October 18, 2023                  Expert Witness Disclosure by party without the
          40 days before trial              burden of proof.

       5. October 30, 2023                  Motions Deadline (e.g. suppression motions, Daubert
          30 days before trial              motions, motions in limine, etc.). Oppositions are due 5
                                            days after service of motion. Reply briefs accepted only
                                            with leave of court requested 3 days after service of
                                            opposition.

       6. November 6, 2023                  Applications for Writ of Habeas Corpus ad
          21 days before trial              testificandum (i.e. to produce witnesses who are
                                            currently incarcerated). Such applications must
                                            describe specifically why the testimony is necessary.

                                            List of Foreseeable Issues, Proposed Voir Dire,
                                            Proposed Jury Instructions. 1



1
    For instructions regarding these documents, see Appendix, § I.
                                                      2
Case 6:23-cr-00088-DCJ-DJA Document 28 Filed 08/17/23 Page 3 of 6 PageID #: 35




     7. November 6, 2023                  Deadline to submit plea packet. 2
        2 days before Pretrial
        Conference

     8. November 13, 2023                 Applications for subpoena(s) pursuant to Fed. R.
        14 days before trial              Crim. P. 17(b) (i.e., Defendant unable to pay).

     9. November 20, 2023                 Real Time Glossary. By this date, each party shall
        7 days before trial               submit to the court reporter a witness list, glossary of
                                          names and unusual terms, and/or word index of terms
                                          likely to be stated on the record during trial that are
                                          technical, scientific, medical, or otherwise uncommon.

                                          Real-Time. Real-time is available, and arrangements
                                          must be made with the Judge’s court reporter at least
                                          one week prior to trial.

     10. November 22, 2023                Witness Lists (with witnesses designated as “fact” or
         5 days before trial              “expert,” and the expected length of testimony).

                                          Exhibit Lists and Bench Books are to be provided to
                                          the Court and opposing parties. 3 Witnesses or evidence
                                          called/offered solely for impeachment need not be
                                          included.

        THUS, DONE AND SIGNED on this 17th day of August, 2023.




2
 See Appendix, § IV.
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  Absent permission otherwise, counsel must provide 2 sets of bench books to chambers, 1 set to the
Courtroom Deputy, and 1 set to each opposing party; counsel must also provide the Courtroom Deputy with
a flash drive containing all trial exhibits. Prior to jury selection, counsel must deliver 1 complete set of
bench books to the courtroom for the use of testifying witnesses at trial.
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Case 6:23-cr-00088-DCJ-DJA Document 28 Filed 08/17/23 Page 4 of 6 PageID #: 36




                                      Appendix

I.    Pretrial Conference

      A. List of Foreseeable Issues

       For discussion at the pretrial conference, counsel will file a list of ALL
foreseeable issues that will arise on admissibility of evidence, burden of proof, and
any other issues that can or must be dealt with in advance of trial. The purpose to
be served is to eliminate, to the extent possible, delays during the course of the trial,
and to permit advance preparation and research of issues expected to be raised at
trial. The issue list will include counsel's opinion whether a pretrial hearing will be
necessary to resolve any of these foreseeable issues. Examples of such issues which
may require a hearing include, but are not limited to:

      1. Extrinsic evidence questions under U.S. v. Beechum, 582 F.2d 898 (5th Cir.
         1978);
      2. Voluntariness of statements under 18 U.S.C. § 3501;
      3. Admissibility questions; and/or
      4. Any other issue resolvable by a pretrial hearing.

      The following topics will also be discussed at the pretrial conference:

      1. Estimated time required by each side to put on its case;
      2. Marking of documents for identification;
      3. Waivers of foundation of documents where possible;
      4. Exchange of curriculum vitae of expert witnesses and/or stipulation of
         expert qualifications;
      5. Pending discovery problems;
      6. Consideration of making Jencks Act material available to the defendant
         prior to the testimony of all witnesses;
      7. Jury instructions/voir dire problems; and
      8. Any other relevant matter necessary for the smooth progress of the trial.

      B. Proposed Voir Dire

      The Court will conduct voir dire and allow counsel 10 minutes for any follow
up questions. Counsel may submit proposed voir dire questions specific to a party or
the case for the Court’s consideration.

      C. Jury Instructions

      Fifth Circuit Pattern Jury Instructions requested by the parties should be
referenced only by their numbers.       Each non-pattern instruction must be

                                           4
Case 6:23-cr-00088-DCJ-DJA Document 28 Filed 08/17/23 Page 5 of 6 PageID #: 37




accompanied by a brief stating the statutory and/or jurisprudential authority for the
instruction. Fifth Circuit authority is preferable. A simple case citation will not be
sufficient.

II.    Continuances

       Any request for a continuance of the trial setting or a pretrial deadline MUST
include the specific reasons why the scheduled trial date or pretrial deadlines do not
afford sufficient time, the exact amount of additional time requested and, if the party
is requesting a trial continuance, the motion MUST include the relevant provision(s)
of 18 U.S.C. § 3161 authorizing the continuance. Continuance requests MUST
comply with the Court’s Standing Order regarding timely filing motions to continue.
See Standing Order at www.lawd.uscourts.gov – under Chambers tab for Judge
David C. Joseph.

III.   Other Requirements

       A courtesy copy of all material required by this Scheduling Order should be
submitted directly to chambers in order to facilitate prompt attention to all matters.
Courtesy copies should be e-mailed to joseph_motions@lawd.uscourts.gov. All
electronic submissions should be in Microsoft Word format.

IV.    Guilty Plea and Sentencing Procedures

       A. Guilty Pleas

      Prior to the taking of a guilty plea, counsel are to submit a plea packet to the
Court, which includes each of the following documents:

       1. The plea agreement;
       2. An affidavit of understanding of maximum penalty and constitutional
          rights;
       3. The elements of the offense;
       4. A stipulated factual basis for the guilty plea 4; and
       5. A consent decree of forfeiture in appropriate cases.

Absent good cause, guilty pleas will not be set until after receipt of the foregoing
documents, signed by defendant and all counsel.




4 The Court may accept oral testimony in lieu of a written, stipulated factual basis for the

guilty plea.
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Case 6:23-cr-00088-DCJ-DJA Document 28 Filed 08/17/23 Page 6 of 6 PageID #: 38




      B. Sentencing

       Presentencing memoranda must be filed by counsel under seal at least seven
(7) days prior to the scheduled sentencing date, with a confidential copy submitted
directly to the Probation Office. See LCrR 32.2. Any response thereto must be filed
under seal, with a confidential copy submitted directly to the Probation Office, at
least three (3) days prior to the scheduled sentencing date. The submission of a
presentencing memorandum does not relieve the parties from the obligation of
providing the probation officer with written objections to the presentence report
within fourteen (14) days from the day of disclosure. See Fed. R. Crim. P. 32(f); LCrR
32.1.




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